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                       EXHIBIT A
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 July 17, 2024

 James Montado, Esq.
 ISOLAS LLP
 Portland House
 Glacis Road, GX11 1AA, Gibraltar
 (via email: James.Montado@isolas.gi)

 Re:        SDN LIMITED and STEVEN NERAYOFF v. IOV LABS LIMITED, RIF LABS LIMITED,
            RSK LABS LIMITED, DIEGO GUTIERREZ ZALDIVAR, and ALEJANDRO MARIA ABERG
            COBO a/k/a ALEX COBO (“The RSK Defendants”); (New York Sup. Ct., Nassau Cnty.
            Index No. 607805/2024)

 Dear Mr. Montado:

 The undersigned counsel represent Steven Nerayoff and SDN Limited in connection with the
 above referenced civil action commenced against the RSK Defendants before the New York State
 Supreme Court. On May 3, 2024 a summons with notice was filed in Supreme Court Nassau
 County, New York. As you can see from that summons, Plaintiffs assert claims for fraud, aiding-
 and-abetting fraud, and rescission based upon the RSK Defendants’ conduct in connection with
 the unregistered offering and sale of RIF tokens.

 We are writing to you as we understand that you had represented some of these same individuals
 in connection with similar claims and that you may continue to provide representation to the RSK
 Defendants or related individuals/entities. Our purpose in writing is to determine if a negotiated
 settlement can be achieved that is mutually beneficial to all parties prior to the filing of a formal
 complaint detailing the RSK Defendants’ wrongful conduct or, in the alternative, to request that
 defendants accept and acknowledge service of the summons (attached).

 To induce Plaintiffs to purchase Defendants’ RIF tokens, Defendants made numerous knowing
 misrepresentations of material fact, as well as material omissions, that Plaintiffs justifiably relied
 upon to their detriment in making their investments. More particularly, at meetings with Plaintiffs,
 both within and outside of New York, Defendants falsely represented that Defendants’ RIF
 blockchain was a second-layer blockchain solution that would provide Ethereum-style smart
 contract capabilities and other functionality to the Bitcoin blockchain. Defendants also
 represented that that they were "…raising capital that it will deploy on researching developing
 and promoting the RIFOS Protocols … and to meet various other operating expenses resulting to
 such activities.” After the Defendants raised capital through RIF Labs, including Plaintiffs’, neither
 RIF Labs nor its founders applied the raised funds for "researching, developing and promoting
 the RIFOS Protocols " or to pursue the functionality that the RIFOS protocols promised. Rather,
 the Plaintiffs’ BTC investments were either held by defendants or transferred for other purposes.




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 At the time Defendants made the foregoing representations, and others, upon which Plaintiffs
 reasonably relied, Defendants knew that the RIF blockchain had no such functionality, that no
 such functionality had ever been developed, and that they had no plans for such functionality.
 Following the launch of the RIF blockchain, Defendants’ fraud was revealed and the value of
 Plaintiffs’ investments declined over 99%.

 As to the particulars of the solicitation and investment: Mr. Nerayoff met with Diego Gutierrez
 Zaldivar, one of 4 top operator/founders of RSK, in New York City numerous times during the
 solicitation period, to discuss the investments. These meetings were at and around Consensus
 2018, in New York City, establishing personal jurisdiction over the Company, and over Diego
 Zaldivar in the Courts of the United States/New York State. Mr. Nerayoff initially agreed to invest
 200 Bitcoin and transferred that amount to RSK. The foregoing facts are all subject to
 contemporaneous documentation.

 After sending the initial investment of 200 Bitcoin from Mr. Nerayoff’s BTC address, Plaintiffs
 made subsequent investments totaling an additional 1355 Bitcoin. The 1555 BTC that Plaintiffs
 were defrauded of went from a value of $10,396,000 in 2018 to well over $100 million today.

 The Token Generation Event occurred on November 9, 2018. However, the RIF Tokens were
 not—and were never intended to be—issued by RSK Labs, which at all relevant times was an
 independent entity, distinct and separate from RIF Labs, the entity that actually issued the RIF
 Tokens. The two entities merged after the Token Generation Event. RIF Labs was renamed to
 IOV labs in an effort to rebrand after failing to deliver the promised technology and having its
 Token price drop 99%. RSK never built anything and took investment monies knowing that they
 had no product to deliver. Once the token became publicly traded, it cratered.

 Accordingly, and as set forth in the attached summons with notice, Plaintiffs seek the rescission
 of their investments and the return of their invested Bitcoin or, in the alternative, monetary
 damages at the date of judgment in an amount not less than $100 million, plus interest thereon.

 Thank you for your prompt attention to this matter.

 Sincerely,



 John Piskora
 Partner

 John Deaton
 Chris Hampton
 DEATON Law Firm, LLC
 450 N Broadway
 East Providence RI 02914

 Attachment




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